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UNITED STATES DEPARTMENT OF JUSTICE
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                           UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 IN RE:                                       )
                                              )
 DIVERSIFIED RESOURCES INC.                   )
                                              )       Case No. 19-13627-EEB
                                              )
                                              )
 BIYA RESOURCES INC.                          )       Case No. 19-13628-JGR
                                              )
                                              )
                                              )
 NATURAL RESOURCE GROUP INC.                  )       Case No. 19-13629-MER
                                              )
 Debtors.                                     )       Chapter 11
                                              )
                                              )       Jointly Administered Under
                                              )       Case No. 19- 13627-EEB



          STIPULATED MOTION FOR ORDER ESTABLISHING BAR DATE FOR
                          GOVERNMENT CLAIMS


       The United States, a party of interest in the above-captioned matter, and debtors Diversified

Resources Inc., BIYA Operators Inc. and Natural Resource Group, Inc. (collectively the Debtors)

respectfully move the Court for an Order Establishing the bar date for government claims, and

hereby state as follows:
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               1.       The Debtors filed for relief under Chapter 11 of Title 11 of the United States

       Code (the “Bankruptcy Code”) on April 30, 2019 (the “Petition Date”).

               2.       The Bankruptcy Code affords governmental units 180 days after the petition

       date to file claims. 11 U.S.C. § 502(b)(9). In this case, 180 days after the Petition Date is

       October 28, 2019.

               3.       On May 9, 2019, Debtors filed their Motion for Order Establishing Bar Date

       for the Filing of Proofs of Claim Pursuant to Fed.R.Bankr.P. 3003(c)(3). (Dkt. 48, Debtors’

       Bar Date Motion.) Debtors’ Bar Date Motion requested a bar date of July 15, 2019. Debtors

       Bar Date Motion did not request to modify the 180-day period provided to governmental

       units to file proofs of claim under 11 U.S.C. § 502(b)(9). Id.

               4.       The Court granted Debtors’ Bar Date Motion, ordering that “Proofs of Claim

       in the above-captioned Chapter 11 bankruptcy cases must be filed no later than July 15,

       2019.” (Dkt. 50, Bar Date Order.) In doing so, the Court did not explicitly address or modify

       the deadline for governmental units to file proofs of claim. Id.

               5.       The docket for this case retains the 180-day period for governmental units to

       file proofs of claim, setting the bar date for government proofs of claim on October 28, 2019.

       See Exhibit A.

       WHEREFORE, for the avoidance of any doubt, the parties respectfully request that this

Court issue an order setting a bar date of October 28, 2019 for governmental units to file proofs of

claim, notice of which shall be mailed out by the Debtors to all governmental creditors and

governmental parties in interest.




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Dated: June 18, 2019              Respectfully submitted,

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                                  /s/ Kevin Vanlandingham
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